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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------------- x
JLT SPECIALTY INSURANCE SERVICES INC.,                              :
                                                                    :
                                             Plaintiff,             :    19 Civ. 3921 (KMK)
                                                                    :
                         v.
                                                                    :
                                                                    :     STIPULATION &
NFP PROPERTY & CASUALTY SERVICES, INC., :                               [PROPOSED] ORDER
                                                                    :    STAYING ACTION
                                             Defendant.             x
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        WHEREAS, Plaintiff JLT Specialty Insurance Services Inc. commenced the above-

captioned action by filing a Complaint on May 1, 2019, asserting claims against Defendant NFP

Property & Casualty Services, Inc. for: (i) tortious interference with existing and prospective

business relationships; (ii) tortious interference with contract; (iii) unfair competition; and (iv)

misappropriation of confidential information;

        WHEREAS, Plaintiff and Defendant (collectively, the “Parties”) have agreed in

principle to settle the instant action in its entirety, subject to entering into an integrated

settlement contract and finalizing various ancillary deal terms;

        WHEREAS, the Parties wish to avoid incurring further expense and cost in connection

with this litigation pending final settlement;

        IT IS HEREBY STIPULATED AND AGREED, by and between the Parties, through

their respective attorneys, that this action and all litigation deadlines shall be stayed for sixty (60)

days to allow the Parties to reach a formal settlement, execute a settlement contract, and file a

formal Notice of Discontinuance with the Court.
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Dated: New York, New York                     Dated: New York, New York
       December 26, 2019                             December 26, 2019

By:     /s/ A. Michael Weber                  By: /s/ Sean E. O’Donnell
A. Michael Weber, Esq.                        Sean E. O’Donnell, Esq.
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JLT Specialty Insurance Services Inc.         Two Park Avenue
                                              New York, NY 10016
                                              Attorneys for Defendant
                                              NFP Property & Casualty Services, Inc.




                                        SO ORDERED.




                                         Honorable Kenneth M. Karas, U.S.D.J.




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